              Case 3:19-cv-05553-BHS Document 128 Filed 07/13/22 Page 1 of 2




 1                                                      THE HONORABLE BENJAMIN H. SETTLE
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA
 9   KYLIE STEELE,                                  )
                                                    )
10                                     Plaintiff,   )
                                                    )
11            v.                                    )      Case No. 3:19-cv-05553-BHS
                                                    )
12   NATIONAL RAILROAD PASSENGER                    )      FULL SATISFACTION OF
     CORPORATION, d/b/a AMTRAK,                     )      JUDGMENT AND TAXATION OF
13                                                  )      COSTS
                                     Defendant.     )
14                                                  )
                                                    )
15                                                  )
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17            Pursuant to RCW 4.56.100, the undersigned attorney of record for Plaintiff Kylie Steele
18   hereby acknowledges that the judgment entered in this matter on November 23, 2021 in favor of
19   Plaintiff against National Railroad Passenger Corporation (“Amtrak”) has been fully satisfied.
20   Plaintiff further acknowledges that the taxation of costs entered in this matter on February 1,
21   2022 in favor of Plaintiff Kylie Steele against Amtrak has been fully satisfied. The Clerk is
22   requested to note the same in the execution docket.
23

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25   //
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     //
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     FULL SATISFACTION OF JUDGMENT AND TAXATION OF COSTS - 1                     LANE POWELL PC
                                                                          1420 FIFTH AVENUE, SUITE 4200
     CASE NO. 3:19-cv-05553-BHS                                                    P.O. BOX 91302
                                                                             SEATTLE, WA 98111-9402
                                                                           206.223.7000 FAX: 206.223.7107
     019188.0447/8964947.1
              Case 3:19-cv-05553-BHS Document 128 Filed 07/13/22 Page 2 of 2




 1            DATED: July 13, 2022.
 2
                                              LANE POWELL PC
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 4
                                              By s/ Tim D. Wackerbarth
 5                                              Tim D. Wackerbarth, WSBA #13673
                                                Andrew G. Yates, WSBA #34239
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                                           Attorneys for Defendant National Railroad
13                                         Passenger Corporation

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     FULL SATISFACTION OF JUDGMENT AND TAXATION OF COSTS - 2              LANE POWELL PC
                                                                   1420 FIFTH AVENUE, SUITE 4200
     CASE NO. 3:19-cv-05553-BHS                                             P.O. BOX 91302
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